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Hon. Joan M. Azrack Fak, 631.234-5058
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722-9014

Re: Tanza, et al. v. Garda Security, Inc. ef al.
15-cv-4394 (JMA) (AYS)

Dear Judge Azrack:

As Class Counsel, we write with the consent of Defendants’ counsel to respectfully request an
adjournment of the parties’ conference currently scheduled for May 14, 2024 in this matter.

By way of background, on January 19 2024, the Court issued an order granting preliminary
approval of the parties’ class action settlement. [ECF No, 162]. The Order set a final approval
hearing on May 14, 2024, at 3:30 p.m., with the parties expected to file their motion for final
approval fourteen days before. That same order required the parties to brief the issue of entitlement
to attorney’s fees, and provided “No deadlines shall run under the Agreement until the issue of
fees and costs are resolved by the Court.”

Class Counsel and counsel for Neil Frank filed their motion for attorney’s fees and costs, to which
Defendant responded. The motion is fully briefed, but the Court has yet to rule. As a result, no
deadlines under the parties’ settlement agreement (including the deadline to issue notice to the
settlement class) has run.

Thus, this matter is not ripe for a final approval hearing. Thus, consistent with the Court’s Order
granting preliminary approval, which provided that the Court could adjourn the hearing, the parties
respectfully request that the Court adjourn the May 14" fairness hearing. If the Court requires
argument on the matter of attorneys’ fees, parties’ and interest parties’ counsel are available for
such argument on May 14" in lieu of the fairness hearing, but respectfully request that the hearing
be held virtually in order to avoid incurring travel expenses of defendants’ counsel to attend the
hearing in-person.

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Your Honor’s consideration is appreciated.
Respectfully submitted,

/s/ Scott Michael Mishkin

